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                             UNITED STATES DISTRICT COURT
                             NORTHERN DISTRICT OF ILLINOIS
                                   EASTERN DIVISION

 ELIZABETH GONZALEZ,                               )
                                                   )
                               Plaintiff,          )
                                                   )
                       v.                          )    No. 20 C 2111
                                                   )
 CHARLOTTE A. BURROWS, Chair of the                )    Judge Kennelly
 U.S. Equal Employment Opportunity                 )
 Commission,1                                      )
                                                   )
                               Defendant.          )

 UNITED STATES’ ANSWER TO PLAINTIFF’S SECOND AMENDED COMPLAINT

       Defendant Charlotte Burrows, Chair of the U.S. Equal Employment Opportunity

Commission, by her attorney, John R. Lausch, Jr., United States Attorney for the Northern District

of Illinois, for her answer to plaintiff’s second amended complaint, Dkt. 40, states as follows:

                                             First Defense

       Plaintiff is barred from pursuing claims that were not raised and exhausted at the

administrative level, including plaintiff’s claim that she was not hired by United States Customs

and Border Protection because of information provided by the U.S. EEOC during a background

investigation.

                                            Second Defense

       Plaintiff is barred from raising claims related to subsequent administrative complaints that

were untimely filed and/or not fully exhausted, including claims related to EEO complaints nos.

2019-0012 and 2020-0047.



   1
     Janet Dhillon is no longer the Chair of the United States Equal Employment Opportunity
Commission, and the current Chair is now Charlotte Burrows. By automatic operation of the
Federal Rule of Civil Procedure 25(d), the current chair is substituted in for the previous chair.
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                                         Third Defense

       A portion of plaintiff’s claims are barred in whole or in part because she failed to meet the

statutory deadlines of making contact with an EEO counselor within 45 days of the alleged

conduct. Specifically, plaintiff initiated counselor contact in November 2018 regarding alleged

conduct that occurred in January 2016 and April 2018, and also initiated counselor contact in the

winter of 2020 regarding alleged conduct that occurred years prior.

                                         Fourth Defense

       Answering the specific allegations of the complaint, the defendant admits, denies, or

otherwise avers as follows:

                                JURISDICTION AND VENUE
        1.      Complaint: This action seeks equitable relief and damages from Defendants for
their discrimination in federal employment against Plaintiff on the bases of disability, national
origin, sex, and retaliation.
               Response:      Admit.

       2.     Complaint: Jurisdiction exists under 28 U.S.C. § 1331, 28 U.S.C. § 1343(a)(3),
42 U.S.C. §2000e-5(f)(3), 42 U.S.C. § 1981, 42 U.S.C. § 1983, 42 U.S.C. § 1988, and 29 U.S.C.
§ 791.
               Response:      Defendant admits only that jurisdiction for Title VII claims is

conferred by 42 U.S.C. § 2000e-5(f)(3), and jurisdiction for disability claims is conferred by the

Rehabilitation Act, 29 U.S.C. § 791.

        3.       Complaint: Venue is proper because the discriminatory acts occurred within this
judicial district under 42 U.S.C. 2000e-5(f)(3).
               Response:      Admit that the alleged discriminatory acts occurred in this district

and that venue is proper.




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                                            PARTIES

        4.     Complaint: Plaintiff Elizabeth Gonzalez is a citizen of the United States who
was employed by the United States Equal Employment Opportunity Commission’s Illinois District
Office in Chicago, Illinois.

               Response:       Admit that Gonzalez was employed by the United States Equal

Employment Opportunity Commission and affirmatively state that she worked at the Chicago

District Office but deny that an Illinois District Office exists and deny that the plaintiff worked

there.

        5.      Complaint: Defendant Janet Dhillon, Chair, United States Equal Employment
Opportunity Commission, is charged with the administration and enforcement of all laws, rules,
and regulations relating to the equal employment opportunity of officers and employees under the
jurisdiction of the United States Equal Employment Opportunity Commission.
               Response:       Deny that Janet Dhillon is the current Chair of the United States

Equal Employment Opportunity Commission, and affirmatively state that the current Chair is

Charlotte Burrows. Admit that the Commission is charged as described but not the chair.

                       PRIOR ADMINISTRATIVE PROCEEDINGS
       6.      Complaint: Plaintiff exhausted all pre-complaint administrative procedures
under the rules and regulations of the EEOC.
               Response:       Deny.    The First Amended Complaint has a footnote on this

paragraph. To the extent a response to the footnote is required, it is denied.

       7.       Complaint: Plaintiff filed this action within 90 calendar days following receipt
of each of the below Final Agency Decisions.
               Response:       Deny.

                                       First EEO Complaint

       8.      Complaint: On November 18, 2015, Plaintiff initiated counseling alleging that
she was discriminated against on the bases of disability, national origin, sex, and reprisal when she
was denied accommodation.

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               Response:      Admit that plaintiff initiated counseling but deny that she did so on

November 18, 2015. Deny the remaining allegations.

      9.       Complaint:     On January 12, 2016, Plaintiff filed her First EEO Complaint (No.
2016-0014).
               Response:      Admit.

       10.     Complaint:     On December 5, 2017, the Agency issued its Notice of Dismissal.
               Response:      Admit.

       11.    Complaint:      On December 22, 2017, Plaintiff filed an appeal with the Office of
Federal Operations (OFO).
               Response:      Admit.

      12.    Complaint: On November 27, 2019, OFO vacated the Agency’s decision and
remanded the matter for further processing.
               Response:      Admit.

      13.     Complaint: On January 11, 2020, Plaintiff requested a hearing with an
Administrative Judge, which she withdrew on March 27, 2020, because of health reasons.
               Response:      Admit that plaintiff requested a hearing with an administrative judge

but state that she did so on January 14, 2020. Admit that she withdrew her request on March 27,

2020. Defendant lacks knowledge or information sufficient to form a belief about the truth of the

remaining allegations of this paragraph; accordingly, they are denied.

        14.   Complaint:      On August 3, 2020, the EEOC issued a Final Agency Decision on
the First EEO Complaint.
               Response:      Admit that the agency’s Office of Equal Opportunity issued the

Final Agency Decision on the First EEO Complaint on August 3, 2020. Deny the remaining

allegations.




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        15.    Complaint: On August 21, 2020, Plaintiff received the Final Agency Decision
on the First EEO Complaint.
               Response:       Defendant lacks knowledge or information sufficient to form a

belief about the truth of the allegations of this paragraph; accordingly, they are denied.

                                     Second EEO Complaint

        16.   Complaint: On November 16, 2018, Plaintiff contacted an EEO counselor,
alleging unlawful retaliation.
               Response:       Admit.

         17.   Complaint:      On February 2, 2019, filed her Second EEO Complaint (No. 2019-
0012).
               Response:       Admit.

         18.   Complaint:      On May 6, 2019, the Agency issued its Notice of Dismissal.
               Response:       Admit.

       19.     Complaint:      On May 9, 2019, Plaintiff filed an appeal from the Agency’s
decision.
               Response:       Admit.

        20.   Complaint: On December 27, 2019, the EEOC issued a Final Agency Decision
on the Second EEO Complaint.
               Response:       Admit.

        21.    Complaint: On January 10, 2020, Plaintiff received the Final Agency Decision
on the First Second EEO Complaint.
               Response:       Defendant lacks knowledge or information sufficient to form a

belief about the truth of the allegations of this paragraph; accordingly, they are denied.

                                              FACTS
       22.    Complaint: Plaintiff began working with the Agency as an Information Intake
Representative (IRR) at its Chicago District Office on December 1, 2014.


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               Response:       Admit but deny that the acronym is “IRR.”

        23.    Complaint: Plaintiff had to serve a one-year probationary period, which was
set to end on December 1, 2015.
               Response:       Admit that plaintiff was scheduled to serve a one-year probationary

period.

        24.     Complaint: Plaintiff received and responded to telephone calls from individuals
and/or their representatives seeking information on employment discrimination, the laws enforced
by EEOC, and the charge filing process; determined whether EEOC or some other organization
had jurisdiction; conducted pre-charge counseling and sent out intake questionnaires to the
potential charging parties; and entered information into designated databases.
               Response:       Admit only that the tasks described are among the duties of the IIR

position Gonzalez held while employed by the EEOC but deny that the list is complete. Deny all

remaining allegations.

       25.    Complaint: Plaintiff had a medical event at work and went to the emergency
room at Holy Cross Hospital because of her medical condition on February 3, 2015.

               Response:       Deny that the medical event occurred at work. Defendant lacks

knowledge or information sufficient to form a belief about the truth of the remaining allegations

of this paragraph; accordingly, they are denied.

       26.    Complaint: Plaintiff notified her first-line supervisor, Tyrone Irvin, and
informed him that she was at the hospital with the medical condition on February 4, 2015.

               Response:       Defendant lacks knowledge or information sufficient to form a

belief about the truth of the allegations of this paragraph; accordingly, they are denied.

       27.    Complaint: Throughout Plaintiff’s employment with the Agency, she continued
to keep the Agency informed of her medical condition and took sick leave.

               Response:       Admit that plaintiff took sick leave and other leave throughout her

employment with the Agency. Deny the remaining allegations.

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       28.     Complaint: Plaintiff spoke with Mr. Irvin about her medical condition and
requested reasonable accommodation because of her medical condition on June 1, 2015.

               Response: Deny.

       29.    Complaint: On this date and later discussions, Mr. Irvin told Plaintiff that she
could continue to have leave without pay.

               Response:        Deny.

        30.    Complaint: On or around August 2015, Plaintiff requested to meet with Mr.
Irvin regarding her domestic violence situation with her son and her disability (major depressive
disorder, suicidal ideation, depression, anxiety disorder, vertigo, and migrainosus). Plaintiff
requested reasonable accommodation related to her domestic violence situation and her disability.

               Response:        Defendant admits only that plaintiff and Mr. Irvin met on or around

August 2015. All other allegations of Paragraph 30 are denied.

       31.    Complaint: Plaintiff had a medical event at work and went to the emergency
room at Rush University Medical Center on November 5, 2015.

               Response:        Admit that plaintiff had a medical event at work and was taken by

ambulance to a local hospital on November 5, 2015. Defendant lacks knowledge or information

sufficient to form a belief about the truth of the remaining allegations of this paragraph;

accordingly, they are denied.

        32.    Complaint: On November 17, 2015, Patricia Jaramillo, an EEOC Enforcement
Manager, spoke to Plaintiff about the November 5 medical event and Plaintiff’s medical condition.
Plaintiff requested reasonable accommodation, including the ability to telework. Ms. Jaramillo
denied Plaintiff’s request.

               Response:        Admit that Jaramillo spoke to plaintiff on November 17, 2015.

Deny the remaining allegations.

        33.    Complaint: On November 18, 2015, Plaintiff was unable to come into work due
to her medical condition and called in to take leave without pay.


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               Response:       Defendant lacks knowledge or information sufficient to form a

belief about the truth of the allegations of this paragraph; accordingly, they are denied.

       34.      Complaint: On November 18, 2015, Plaintiff called an EEO Counselor, Sandra
Adams, to file an informal complaint of discrimination based on her national origin (Mexican),
sex (female), and disability (major depressive disorder, suicidal ideation, depression, anxiety
disorder, vertigo, and migrainosus), and the denial of reasonable accommodation. Ms. Adams
scheduled a phone interview for November 23, 2015.

               Response:       Admit that plaintiff called EEO Counselor Sandra Adams on

November 18, 2015. Defendant lacks knowledge or information sufficient to form a belief about

the truth of what occurred during the phone call; accordingly, those allegations are denied.

        35.     Complaint: On November 20, 2015, Plaintiff emailed Patrick DeWolf, an EEOC
Information Intake Program Manager, about her meeting with Ms. Jaramillo about Plaintiff’s
disability and reasonable accommodation. Mr. DeWolf did not respond.

               Response:       Admit that plaintiff emailed Patrick DeWolf on November 20, 2015,

and that Mr. DeWolf did not respond. Deny the remaining allegations.

      36.    Complaint: On November 20, 2015, Plaintiff met with union steward,
Kimberly Engram, and union representative, Jose Romo. Plaintiff told them of her discrimination
complaint.

               Response:       Admit that plaintiff met with union steward, Kimberly Engram, and

union representative, Jose Romo. Defendant lacks knowledge or information sufficient to form a

belief about the truth of the remaining allegations of this paragraph; accordingly, they are denied.

        37.    Complaint: On November 20, 2015, Plaintiff was called into a meeting by Ms.
Jaramillo and Mr. Irvin. Plaintiff requested that her union representative, Ms. Engram, be present.
Ms. Engram requested reasonable accommodation again on behalf of Plaintiff. Ms. Jaramillo
stated the Agency had not decided whether they would retain Plaintiff beyond the probationary
period, but Plaintiff could make a reasonable accommodation in writing and contact the ADA
Coordinator. Plaintiff immediately contacted Rodney Yelder, Disability Program Manager, and
emailed him a confirmation of reasonable accommodation.



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               Response:        Admit that plaintiff met with Ms. Engram, Mr. Irvin, and Ms.

Jaramillo on November 20, 2015. Admit that plaintiff was informed at this meeting, as well as

other occasions, that if she needed a reasonable accommodation, she would need to get in touch

with the disability program manager. Admit that plaintiff contacted Rodney Yelder, disability

program manager, to request a reasonable accommodation on November 20, 2015, although she

did not submit supporting medical documentation. Defendant lacks knowledge or information

sufficient to form a belief about the truth of the remaining allegations of this paragraph;

accordingly, they are denied.

        38.     Complaint: On that same day, Ms. Engram told Plaintiff that Ms. Jaramillo had
decided to demote Plaintiff to part-time rather than to terminate her. Plaintiff agreed since the
Agency had denied her reasonable accommodation. Ms. Engram told Plaintiff that the
management would retaliate against her if she filed an informal EEO complaint. As a result,
Plaintiff emailed Ms. Adams to hold off on her complaint.

               Response:        Admit only that plaintiff emailed Ms. Adams on November 23,

2015, to “hold off” on her complaint. Defendant lacks knowledge or information sufficient to

form a belief about the truth of the remaining allegations of this paragraph; accordingly, they are

denied.

        39.     Complaint: On November 25, 2015, the Agency informed Plaintiff that it would
not retain her and that she would be terminated effective November 30, 2015. Plaintiff immediately
resigned.
               Response:        Admit.

     40.     Complaint: From the start of her employment on December 1, 2014 through
November 25, 2015, Plaintiff performed at a satisfactory level.

               Response:        Deny.

       41.     Complaint:       Plaintiff had no disciplinary records for her entire employment with
the Agency.


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               Response:        Deny. Plaintiff was not suspended but she was counseled numerous

times on time and attendance.

      42.      Complaint:       Plaintiff was not given a warning nor counseled at any time by the
Agency.
               Response:        Deny.

       43.    Complaint:        On November 27, 2015, Plaintiff contacted Ms. Adams to proceed
with her complaint.

                Response:       Admit that plaintiff contacted Ms. Adams on November 27, 2015,

but deny the characterization of such contact and all remaining allegations.

        44.     Complaint: During Plaintiff’s employment with the Agency, management
provided reasonable accommodation to non-Mexican IRRs who started at the same time as
Plaintiff. The Agency also hired other non-Mexican IRR as full-time teleworkers.
               Response:        Deny. IRR was not a position at the Agency.

        45.     Complaint: After her resignation, Plaintiff sought employment with the United
States Customs and Border Protection (CBP) under the Department of Homeland Security. The
CBP gave Plaintiff a conditional offer of employment pending a background investigation. As part
of the background investigation, the CBP contacted the Agency. After her background
investigation, the CBP rescinded Plaintiff’s job offer. On information and belief, an Agency
official provided information that harmed Plaintiff’s ability to secure employment with the CBP.
               Response:        Defendant lacks knowledge or information sufficient to form a

belief about the truth of the allegations of this paragraph; accordingly, they are denied.

                                               COUNT I
                   Violation of Title VII of the Civil Rights Act of 1964, 42 U.S.C.
               § 2000e et seq. Disparate Treatment Based on National Origin and Sex

       46.     Complaint:       Plaintiff incorporates Paragraphs 1 through 45.
               Response:        Defendant incorporates its responses to paragraphs 1 through 45.




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       47.      Complaint: Title VII prohibits an employer from discriminating against any
individual in, among other things, compensation, terms, conditions, or privileges of employment,
because of such individual’s race and national origin. 42 U.S.C. § 2000e-2(a)(1).

              Response:      Admit.

       48.    Complaint:     Plaintiff is a member of protected classes (national origin and
female) under Title VII.

              Response:       Admit.

       49.      Complaint: Plaintiff was subject to adverse employment actions based on
national origin and sex when she was denied reasonable accommodation.

              Response:       Deny.

       50.      Complaint: Similarly situated EEOC employees outside the protected class were
not subject to such adverse terms and conditions of employment.

              Response:       Deny.

       51.     Complaint: Defendants’ denial of reasonable accommodations resulted in
constructive termination of Plaintiff.

              Response:      Deny.

        52.     Complaint: Plaintiff has been subject to disparate treatment because of
disability/national origin/sex and has been damaged on a continuing basis.

              Response:      Deny.

       53.     Complaint: Defendants’ acts and omissions constitute an intentional and
“continuing violation” under Title VII.

              Response:      Deny.

                                      COUNT II
                    Violation of The Rehabilitation Act of 1973. as amended at
                    29 U.S.C. § 791 et seq., Failure to Accommodate Disability

       54.    Complaint:     Plaintiff incorporates Paragraphs 1 through 53.

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               Response:      Defendant incorporates it responses to paragraphs 1 through 54.

        55.     Complaint: The Rehabilitation Act prohibits a federal agency from
discriminating against an otherwise qualified individual with a disability solely by reason of her
disability, be excluded from the participation in, be denied the benefits of, or be subjected to
discrimination § 501(g) of the Rehabilitation Act, (29 U.S.C. 791(g)).

               Response:      Admit.

        56.     Complaint: The Rehabilitation Act expressly incorporates the liability standards
set out in the ADA. See id. § 794(d); 29 C.F.R. § 1614.203(b).
               Response:      Admit.

       57.     Complaint:     Plaintiff is an individual with disability, as defined under the ADA.
               Response:      Deny.

      58.     Complaint: Plaintiff has a record of her disability and impairments, and her
employer and supervisors knew of her disabilities.
               Response:      Deny.

        59.    Complaint: Defendants violated § 501 of the Rehabilitation Act, as amended and
under the applicable standards of the ADA as amended 42 U.S.C. § 12112(b); and 29 C.F.R. Part
1630, when they forced her to take part-time employment while seeking treatment for her
disability.
               Response:      Deny.

                                          COUNT III
     Violation of The Rehabilitation Act of 1973 as amended at 29 U.S.C. § 791 et seq.,
                           Failure to Accommodate Disability

       60.     Complaint:     Plaintiff incorporates Paragraphs 1 through 59.
               Response:      Defendant incorporates it responses to paragraphs 1 through 60.

         61.   Complaint: Defendants’ actions against Plaintiff, when viewed in the totality of
the circumstances, as highlighted in this First Amended Complaint, constitute discrimination and
failure to accommodate against a qualified disabled individual.
               Response:      Deny.
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        62.    Complaint: Defendants did not want to accommodate Plaintiff’s disability and
failed to accommodate her disability intentionally and recklessly.
               Response:      Deny.

       63.     Complaint:     Rather than accommodate Plaintiff, Defendants constructively
terminated Plaintiff.
               Response:      Deny.

       64.     Complaint:     Plaintiff has been damaged as a result of Defendants’ acts and
omissions.
               Response:      Deny.

                                           COUNT IV
         Violation of Title VII of the Civil Rights Act of 1964, 42 U.S.C. § 2000E-3
                                (Anti-Retaliation Provisions)
       65.     Complaint:     Plaintiff incorporates Paragraphs 1 through 65.
               Response:      Defendant incorporates it responses to paragraphs 1 through 65.

        66.   Complaint: Management officials responsible for the denial of Plaintiff’s
reasonable accommodation and continued employment were, in fact, aware of Plaintiff’s prior
protected EEO activities.

               Response:      Deny.

        67.   Complaint: Similarly situated employees in the EEOC who have not engaged in
protected EEO activities have been treated more favorably related to reasonable accommodation
and continued employment.
               Response:      Deny.

      68.     Complaint: Defendants interfered with Plaintiff’s employment with other
governmental entities, namely CBP.

               Response:      This paragraph is subject to defendant’s pending motion to dismiss

and therefore need not be answered. If a response is required, the allegations are denied.




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        69.      Complaint: Defendants’ acts and omissions constitute a continuing violation of
the antiretaliation provisions of Title VII 42 U.S.C. 2000E-3.
               Response:      Deny.

       70.     Complaint:     Plaintiff has been damaged as a result of Defendants’ acts and
omissions.
               Response:      Deny.

       WHEREFORE, defendant requests that the case be dismissed with costs and that the court

award such further relief as may be appropriate.

                                             Respectfully submitted,

                                             JOHN R. LAUSCH, Jr.
                                             United States Attorney

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